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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: HOTEL INDUSTRY SEX
TRAFFICKING LITIGATION (NO. II)                                                          MDL No. 3104


                                 ORDER DENYING TRANSFER


        Before the Panel: * Plaintiffs in 33 actions pending in five districts move under 28 U.S.C.
§ 1407 to centralize this litigation in the Southern District of Ohio. This litigation consists of 52
actions pending in twelve districts, as listed on Schedule A. 1 Since the filing of the motion for
centralization, the Panel has been notified of 61 additional actions pending in 22 districts.
Plaintiffs in all actions allege that they are victims of sex trafficking that occurred at hotel
properties located across the country and that the involved hotel defendants are liable for damages
under the Trafficking Victims Protection Reauthorization Act of 2008 (“TVPRA”), 18 U.S.C. §
1595, and, in some instances, state law.

        The responding parties’ positions on centralization vary. Plaintiffs in fourteen actions and
potential tag-along actions pending in nine districts support the motion. Plaintiff in one of these
actions alternatively suggests centralization in the District of Massachusetts. Plaintiff in one
Southern District of Ohio action supports the motion and, alternatively, suggests centralization of
seven hotel brand-specific MDLs in the Southern District of Ohio. Plaintiffs in one action and 23
potential tag-along actions suggest centralization of 42 cases against G6 Hospitality 2 in the Eastern
District of Texas. Plaintiffs in seven actions and potential tag-along actions oppose centralization.
Plaintiffs in three of these actions alternatively suggest the Northern District of Georgia as
transferee district. All responding defendants oppose centralization on an industry-wide and/or


*
        Judge Nathaniel M. Gorton took no part in the decision of this matter.
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        The motion for centralization initially included an additional action, for a total of 53
actions. This action was settled and dismissed. Movants represented in their motion that it was
filed on behalf of plaintiffs in all 53 actions, but they later clarified that they represent plaintiffs in
37 actions, collectively.

       Additionally, the Central District of California E.C. action originally was filed in the
Southern District of Ohio, but was transferred to the Central District of California under 28 U.S.C.
§ 1631, as reflected in Schedule A.
2
       G6 Hospitality LLC, G6 Hospitality Franchising LLC, G6 Hospitality IP LLC, G6
Hospitality Property LLC, G6 Hospitality Purchasing LLC, and Motel 6 Operating L.P.
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brand-specific basis. 3 Some responding defendants propose alternative districts, including the
Northern District of Ohio and the Northern District of Georgia. Six anti-sex trafficking
organizations 4 submitted an amicus brief opposing centralization.

        This litigation is before us for the second time. At our January 2020 hearing session, we
denied a motion for centralization of 21 actions. See In re Hotel Industry Sex Trafficking Litig.,
433 F. Supp. 3d 1353 (J.P.M.L. 2020). Responses to the motion varied, with some plaintiffs,
defendants, and amici supporting centralization, and others opposing it. We denied centralization,
even though movants relied “on broad similarities among the actions to support their request for
centralization, emphasizing similar alleged failures by hotels to prevent sex trafficking and the
importance of corporate responsibility,” because any common factual issues would be
overwhelmed by unique issues concerning each plaintiff’s sex trafficking allegations. Id. at 1355.
The dissimilarities among the actions included “different hotels, … different alleged sex
trafficking ventures, different hotel brands, different owners and employees, different geographic
locales, different witnesses, different indicia of sex trafficking, and different time periods.” Id. at
1356. Moreover, there was “no common or predominant defendant.” Id. We were not persuaded
by plaintiffs’ prediction that upwards of 1,500 additional actions could be filed, in part, because
“our decision to deny centralization in this matter [was] not based on an insufficient number of
actions, but rather the lack of common factual questions in this litigation.” Id. We found that
informal coordination could address any overlap in pretrial proceedings among the cases including
by, for example, requesting actions pending in the same court be organized before a single judge
in that district. See id. at 1356-57.

       In this new motion, proponents argue, inter alia, that (1) movants’ counsel expect to file
1,700 claims, (2) the litigation has narrowed to encompass claims against seven corporate brand
hotel defendants, (3) these narrowed claims share common factual questions, and (4) informal


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        G6 Hospitality; Red Roof Inns, Inc., Red Roof Franchising, LLC, RRF Holding Company,
LLC, and RRI West Management, LLC (together, Red Roof Inns); Holiday Hospitality
Franchising, LLC, Six Continents Hotels, Inc., and Crowne Plaza, LLC1 (together, the IHG
defendants); Wyndham Hotels & Resorts, Inc., Wyndham Hotel Group, LLC, Days Inns
Worldwide, Inc., Super 8 Worldwide, Inc., and Travelodge Hotels, Inc. (together, Wyndham);
Extended Stay America, Inc., and ESA P Portfolio, LLC (the ESA defendants); Choice Hotels
International, Inc. (Choice); Hilton Domestic Operating Co., Inc.; Best Western International;
Sarah Hospitality Inc.; Studio 6 Delk Road, LLC; Royal Corporation d/b/a Royal Motel, Oak-
Grand Corporation d/b/a Oak Grand Motel, and L&B Motel Inc. d/b/a Ritz Motel; Aesha LLC,
Century Lodging LLC, ARTCP LLC, and Lancaster Hospitality LLC; Knights Franchise Systems,
Inc.; Krishna Balram, LLC d/b/a/ Dallas Motel 6, LLC; Marriott International, Inc.; Concord Inn
and Suites, LP, d/b/a Studio 6; Dorca Co., Inc.; Scottsdale Inn, LLC dba Howard Johnson; PRC
Investment LLC; Parimal Parmar; Louisiana Hotel Corp.
4
      4Sarah, Divas Who Win Freedom Center, Rescuing Hope, Street Grace, Sunrise Ministries,
and The Wilbanks Child Endangerment and Sexual Exploitation (CEASE) Clinic.
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coordination has been ineffective. Our denial of centralization in Hotel Trafficking I did not
foreclose plaintiffs from filing this second motion for centralization, but in reconsidering any prior
decisions, we will reach a different result only rarely, when a significant change in circumstances
has occurred. See In re Plavix Mktg., Sales Pracs. & Prods. Liab. Litig., 923 F. Supp. 2d 1376,
1378 (J.P.M.L. 2013). The circumstances of this litigation have not appreciably changed since we
last denied centralization. Therefore, on the basis of the papers filed and the hearing session held,
we conclude that Section 1407 centralization is not necessary for the convenience of the parties
and witnesses or to further the just and efficient conduct of the litigation.

        When we first denied centralization in 2020, plaintiffs predicted that as many as 1,500
cases would be filed, nearly as many as the 1,700 cases movants now predict. But “the mere
possibility of additional actions does not support centralization, even where thousands of actions
are predicted.” In re Hotel Trafficking I, 433 F. Supp. 3d at 1356. In the four years since we first
denied centralization, nowhere near 1,500 cases have been filed. To be sure, there are more than
twice as many actions included on the motion for centralization today than there were in 2020, but
more than half of the cases are pending in two courts. More fundamentally, we remain
unconvinced that the actions share sufficient common factual questions to justify centralization.

        As they did four years ago, the proponents of centralization continue to “rely on broad
similarities among the actions to support their request for centralization, emphasizing similar
alleged failures by hotels to prevent sex trafficking and the importance of corporate responsibility.”
Id. at 1355. Plaintiffs here allege they were victims of commercial sex trafficking at one or more
hotels, that defendants knew or should have known that plaintiffs were being trafficked, and that
defendants participated and knowingly financially benefitted by renting rooms to the alleged
traffickers in violation of the TVPRA. But these actions, like the ones before us in 2020, continue
to involve “different hotels, … different alleged sex trafficking ventures, different hotel brands,
different owners and employees, different geographic locales, different witnesses, different indicia
of sex trafficking, and different time periods.” Id. There certainly may be common discovery
concerning a particular hotel brand’s policies at a point in time, or knowledge of sex trafficking
within the hotel industry, generally, or at a particular hotel brand’s properties. But any of these
general common facts is likely to be overwhelmed by individualized discovery regarding not only
the circumstances of a particular plaintiff’s alleged trafficking, but also, inter alia, the varied
defendants and their relationships with each other. While we often centralize litigation that
involves some case-specific factual issues, there is usually a unifying common and fact-intensive
inquiry, such as general causation in the context of product liability litigation, or a common or
principal defendant whose conduct or failure to act is at issue. See, e.g., In re Acetaminophen –
ASD/ADHD Prods. Liab. Litig., 637 F. Supp. 3d 1372, 1374 (J.P.M.L. 2022) (finding plaintiff-
specific causation issues did not preclude centralization where “the issues concerning general
causation, the background science, and regulatory history will be substantially the same in all
actions” and “all defendants are likely to assert the same preemption defense in each action.”); In
re Uber Techs., Inc., Passenger Sexual Assault Litig., MDL No. 3084, __ F. Supp. 3d __, 2023
WL 6456588 (J.P.M.L. Oct. 4, 2023) (centralizing cases involving common defendant’s and its
subsidiaries’ knowledge, policies, and practices with regard to alleged assaults on users of their
ridesharing platform). Here, case-specific facts relating to the alleged involved parties, the
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relevant time periods, and each plaintiff’s experience are so varied that the purported common
factual questions appear to be vastly overwhelmed by individual inquiries, which would make
common pretrial proceedings inefficient in this instance.

         Movants attempt to distinguish their motion from the one we previously denied by asserting
that “the scope of the requested MDL has … been significantly narrowed” to seven corporate hotel
brand defendants. Pls.’ Mot. at p. 3. But their failure to articulate the contours of what they seek
to include in centralized proceedings, or how they would limit the MDL to just those seven
corporate defendants, illustrates that an MDL would be rife with confusion and side disputes before
the Panel about which cases should be included. We are, at this late date, unsure whether
proponents of centralization are seeking an MDL limited to only cases naming these seven
corporate hotel brand defendants, or whether they seek Section 1407(a) separation and remand of
claims against any defendants outside of these seven corporate hotel brands. Movants state that
they name no franchisees as defendants, yet they include actions on their motion that do just that.
Other plaintiffs supporting centralization echo that “this MDL is not meant to encompass claims
against hotel franchisees,” and they state that 64 related actions are pending, but they fail to identify
which of the 113 actions of which we are aware would be included. See Pltfs.’ Resp., MDL No.
3104 (J.P.M.L. Mar. 5, 2024), ECF No. 187, at p. 6. In these 113 actions, there are more than 200
differently-named defendants, including corporate brand defendants, franchisees, hotel operators,
and management companies. The argument that the litigation has been “significantly narrowed,”
therefore, does not withstand scrutiny. And we remain unconvinced that placing all of these cases
and all of these parties before a single judge adds meaningful efficiencies to this already
complicated and sensitive litigation. Cf. In re Uponor, Inc., F1960 Plumbing Fittings Prod. Liab.
Litig., 895 F. Supp. 2d 1346, 1348 J.P.M.L. 2012) (noting that centralization is “not a cure-all for
every group of complicated cases.”).

        We further find the creation of brand-specific MDLs—as suggested in the alternative by
some plaintiffs—would be unworkable. As many parties argued, most victims are trafficked at
more than one location, and many of these actions involve multiple hotel brands. Some brands are
named in many actions, while others are named in just one or a handful. Creating separate MDLs
for each corporate hotel brand—even for those brands named in a sufficient number of actions—
would unnecessarily complicate the litigation by multiplying some plaintiffs’ claims, as claims
against different hotel brands would need to be separated. See In re ARC Airbag Inflators Prods.
Liab. Litig., 648 F. Supp. 3d 1378, 1380 (J.P.M.L. 2022).

       We are not persuaded that informal coordination is insufficient here. Plaintiffs’ counsel
overlaps to a significant extent. Even the firms filing different responses to the Section 1407
motion overlap as co-counsel in many cases. The judges presiding over large groups of cases
should be able to realize important efficiencies by coordinating with each other and by
streamlining the cases before them. Of the 113 known cases in this current litigation, 62 are
pending before two judges in two districts. Twenty-two are pending in the Eastern District of
Texas, and 40 are pending in the Southern District of Ohio. These two courts do not need the
procedural mechanism of Section 1407 centralization in place to exercise their inherent authority
to coordinate the cases before them or to establish an efficient pretrial structure. Several
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defendants stated their willingness to informally coordinate, and it appears the parties are working
to streamline proceedings, including regarding plaintiff identity protections and confidentiality—
issues proponents of centralization argued have been repeatedly re-litigated. See In re Hotel
TVPRA Litig., C.A. No. 2:21-cv-4933 (S.D. Ohio Mar. 4, 2024), ECF No. 140 (order noting the
parties to 30 cases have reached agreement on a stipulated protective order and production of
plaintiffs’ identities).

        Finally, the previous motion for centralization had support from some plaintiffs, some
defendants, and certain anti-sex trafficking organizations filing an amicus brief. Today, all
responding defendants and amici oppose centralization. This significant shift towards opposition
to centralization suggests that an MDL for these cases remains unnecessary. See In re Varsity
Spirit Athlete Abuse Litig., No. MDL 3077, __ F. Supp. 3d __, 2023 WL 3828645, at *2 (J.P.M.L.
June 5, 2023) (“We have found persuasive that, of all responding parties, those who would be most
affected by centralization ... do not believe that centralization would be beneficial.”) (quotation
omitted).

          IT IS THEREFORE ORDERED that the motion for centralization of these actions is
denied.



                                          PANEL ON MULTIDISTRICT LITIGATION




                                                          Karen K. Caldwell
                                                              Chair

                                      Matthew F. Kennelly                David C. Norton
                                      Roger T. Benitez                   Dale A. Kimball
                                      Madeline Cox Arleo
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IN RE: HOTEL INDUSTRY SEX
TRAFFICKING LITIGATION (NO. II)                                         MDL No. 3104


                                       SCHEDULE A


           Central District of California

     E.C. v. CHOICE HOTELS INTERNATIONAL, INC., ET AL., C.A. No. 2:24−02322
     DOE v. WYNDHAM HOTELS AND RESORTS, ET AL., C.A. No. 8:23−01554


           Eastern District of California

     J.M. v. CHOICE HOTELS INTERNAT’L, INC., ET AL., C.A. No. 2:22−00672

           Northern District of Georgia

     W.K., ET AL. v. RED ROOF INNS, INC., ET AL., C.A. No. 1:20−05263

           District of Minnesota

     T.S. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 0:23−02530

           District of New Mexico

     F. v. G6 HOSPITALITY, LLC, C.A. No. 1:23−00879

           Northern District of Ohio

     J.C. v. G6 HOSPITALITY, LLC, C.A. No. 1:23−00867

           Southern District of Ohio

     T.P. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 2:21−04933
     A.W. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:21−04934
     A.R. v. WYNDHAM HOTELS AND RESORTS, INC., ET AL., C.A. No. 2:21−04935
     L.G. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−01924
     G.P. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 2:22−02682
     T.E. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 2:22−03185
     B.D.G. v. CHOICE HOTELS INTERNATIONAL, INC., C.A. No. 2:22−03202
     A.K.W. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03256
     M.H. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03258
     H.C. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03416
     G.G. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03766
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A.Y.S. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03767
A.Y. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03768
K.L. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03769
R.C.C. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03770
N.B. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03771
C.B. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03772
K.R.L. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03773
R.H. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03774
J. B. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03776
H.S. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03778
R.K. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03782
R.Z. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03784
D.K. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03786
K.D. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03787
G.M. v. CHOICE HOTELS INTERNATIONAL, INC., ET AL., C.A. No. 2:22−03788
A.M. v. WYNDHAM HOTELS AND RESORTS, INC., ET AL., C.A. No. 2:22−03797
C.C. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 2:22−03799
T.D.P. v. CHOICE HOTELS INTERNATIONAL, INC., C.A. No. 2:22−03837
K.F. v. CHOICE HOTELS INTERNATIONAL, INC., ET AL., C.A. No. 2:22−03839
D.T. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03844
K.W. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03845
A.S. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03846
S.R. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 2:23−01731
DOE v. BEST WESTERN INTERNATIONAL, INC., ET AL., C.A. No. 2:23−03459
DOE (A.M.G.) v. RED ROOF INNS, INC., ET AL., C.A. No. 2:23−04195
DOE (D.E.G.) v. RED ROOF INNS, INC., ET AL., C.A. No. 2:23−04256
DOE (C.M.G.) v. RED ROOF INNS, INC., ET AL., C.A. No. 2:23−04258

      Eastern District of Pennsylvania

A.B. v. WYNDHAM HOTEL & RESORTS, INC., ET AL., C.A. No. 2:23−03902

      District of South Carolina

N.J. v. G6 HOSPITALITY PROPERTY, LLC, ET AL., C.A. No. 2:22−03180

      Eastern District of Texas

(IES) v. G6 HOSPITALITY, LLC, ET AL., C.A. No. 1:23−00464

      Southern District of Texas

DOE (A.S.) v. WYNDHAM HOTEL & RESORTS, INC., C.A. No. 4:23−01969
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      Western District of Washington

DOE v. ESA P PORTFOLIO, LLC, C.A. No. 3:23−06038
